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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 JAMES FICKEN and SUNCOAST
 FIRST TRUST,

       Plaintiffs,

 v.                                                  Case No: 8:19-cv-1210-CEH-SPF

 CITY OF DUNEDIN, FLORIDA,
 and DUNEDIN CODE
 ENFORCEMENT BOARD,

       Defendants.
 ___________________________________/

                                      ORDER

       This cause comes before the Court upon Defendants’ Dispositive Motion for

 Summary Judgment and Incorporated Memorandum of Law (Doc. 42) and Plaintiff’s

 Dispositive Motion for Summary Judgment and Incorporated Memorandum of Law

 (Doc. 43). Both motions are ripe for the Court’s review (Docs. 49, 51).

       This action arises from a property owner’s repeated failure to cut grass. The

 Dunedin Code Enforcement Board imposed nearly $30,000 in fines for that failure,

 and, with the fines outstanding, thereafter authorized foreclosure. Constitutional

 challenges are now raised.

       The Court, having considered the parties’ submissions and being fully advised

 in the premises, will grant Defendants’ Dispositive Motion for Summary Judgment

 and Incorporated Memorandum of Law and deny Plaintiff’s Dispositive Motion for

 Summary Judgment and Incorporated Memorandum of Law.
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       I.      BACKGROUND

               A. Undisputed Facts 1

                      i. Lady Marion Property and Other Properties

            James Ficken (“Ficken”) is the settlor and sole trustee of Suncoast First Trust.

 Doc. 42-1 2 at 20:1–19, 96:25, 96:1–2; Doc. 63 ¶1; Doc. 43-2 ¶2. He created the trust in

 2007 to hold title on the real property located at 1341 Lady Marion Lane in Dunedin,

 Florida (the “Lady Marion Property”). Doc. 42-1 at 20:8–13. The parties agree that,

 as trustee of Suncoast First Trust, Ficken owns the Lady Marion Property. Doc. 63 ¶1.

 The sole beneficiary of Suncoast First Trust is the Marinelle E. Ficken Living Trust.

 Doc. 42-1 at 21:5–17. The Lady Marion Property is the subject of this action.

            Ficken is also the settlor, sole trustee, and sole beneficiary of the Clearwater

 Residential Trust, which holds real property located at 1608 North Osceola Avenue in

 Clearwater, Florida (the “Clearwater Property”) as its only asset. Doc. 42-1 at 27:12–

 25, 28:1–21; see Doc. 43-2 ¶4. Ficken owned the Clearwater Property individually and

 conveyed it to the Clearwater Residential Trust in the mid-1990s. Doc. 42-1 at 74:10–

 15, 75:1–6. After purchasing the Clearwater Property, he lived in an improved

 structure on the property. Id. at 75:21–25, 76:1–4. Ficken still used the Clearwater




 1
  The Court has determined the facts, which are undisputed unless otherwise noted, based on
 the parties’ submissions, including declarations and exhibits, as well as the parties’ Joint
 Statement of Undisputed Facts for Cross-Motions for Summary Judgment.
 2
     Doc. 42-1 is Ficken’s deposition.
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 Property as a residence when he conveyed it to the Clearwater Residential Trust. Id.

 at 76:10–12. He does not live there today. Id. at 76:22–23; Doc. 43-2 ¶4.

       Additionally, Ficken is the settlor and sole trustee of Suncoast Third Trust,

 which was created to hold title on real property located at 53 Highland Avenue in

 Dunedin, Florida (the “Highland Property”). Doc. 42-1 at 22:3–17. The Highland

 Property is the sole asset of Suncoast Third Trust. Id. at 22:24–25, 23:1. Suncoast Third

 Trust acquired the Highland Property in approximately 2006 or 2007 to “flip” the

 property, and Ficken has used the property to store items left behind by the previous

 owner. Id. at 93:22–24, 94:3–5, 95:2–7.

       Ficken has claimed a homestead exemption on the Clearwater Property for each

 and every year following his conveyance to the Clearwater Residential Trust. Id. at

 78:8–13; Doc. 43-2 ¶4. Ficken has not elected to claim the homestead exemption on

 another property because of “possible tax implications” and his intention to repair the

 Clearwater Property. Doc. 42-1 at 97:10–16; Doc. 43-2 ¶4.

                 ii. 2015 Violation

       In March of 2015, City Code Enforcement Inspector Michael Kepto (“Kepto”)

 issued a notice of violation regarding grass overgrowth at the Lady Marion Property

 (the “2015 Notice of Violation”). Doc. 42-4 at 10; Doc. 43-2 ¶11. At the time, Ficken

 was in South Carolina, where he had been since August of 2014, attending to his

 elderly mother, “with the occasional trip back to Pinellas County, Florida.” Doc. 42-

 1 at 103:15–18; Doc. 43-2 ¶11; Doc. 42-4 at 65.



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       On March 30, 2015, Ficken sent an e-mail to Kepto, in which he requested more

 time “to get the lawn mowed” because he was out of town caring for his mother and

 would not return until the week of April 12, 2015. Doc. 42-4 at 65; Doc. 43-2 ¶12;

 Doc. 43-3 at 4. Ficken advised that his “travel opportunities” were “constrained”

 because he served as his mother’s “24/7/365 caretaker.” Doc. 42-4 at 65; Doc. 43-3 at

 4. He indicated that he should be able to mow the lawn later in the week of April 12,

 2015. Doc. 42-4 at 65; Doc. 43-3 at 4. Later that day, Kepto responded that he would

 not extend the compliance date “based on the past history for this property and

 mowing . . . .” Doc. 42-4 at 67; Doc. 43-3 at 5. Kepto also stated:

              This case will be presented to the Code Enforcement Board
              and ANY time in the next five years we document that the
              property is overgrown you could receive up to a $500 PER
              DAY lien as a “Repeat Violation.” I would strongly suggest
              that you schedule regular mowing for this property to
              prevent any liens being placed.

 Doc. 42-4 at 67; Doc. 43-3 at 5.

       On April 3, 2015, Ficken expressed his disappointment that Kepto declined to

 extend the compliance date and offered several reasons for the Lady Marion Property’s

 lack of maintenance: he did not have the contact information for a car repair service

 and, therefore, could not transport his mower; he sent an e-mail to a lawn service

 provider, but did not receive a response; and the mower of the lawn service provider

 that he previously used was broken, but the provider planned on receiving a new

 mower that day, although the provider would need to catch up on other scheduled

 clients before working at the Lady Marion Property. Doc. 42-4 at 69; Doc. 43-2 ¶12;


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 Doc. 43-3 at 7. As such, Ficken advised that he was hopeful that the yard would be

 cut “in the next few days.” Doc. 42-4 at 69; Doc. 43-3 at 7. On April 7, 2015, Ficken

 advised Kepto that the yard at the Lady Marion Property had been cut by a lawn

 service provider that day. Doc. 42-4 at 69; Doc. 43-3 at 8. Accordingly, Ficken wrote,

 “I hope you approve and cancel the Code Board hearing.” Doc. 42-4 at 69; Doc. 43-3

 at 8.

         But, Kepto advised that the Code Enforcement Board (the “Board”) would still

 hear the case, notwithstanding a lawn service provider mowing the lawn on April 7,

 2015. Doc. 42-4 at 69; Doc. 43-3 at 9. Kepto predicted, “The Board will find that you

 were NOT in compliance by the compliance date however you ARE in compliance

 now.” Doc. 42-4 at 69; Doc. 43-3 at 9. Kepto further emphasized:

               This means that anytime within the next five years that we
               see any of your properties with overgrowth there will be a
               photo taken to document the violation and EACH DAY the
               violation occurs you will be sent back to the Code
               Enforcement Board for a “REPEAT VIOLATION” which
               could result in a higher fine of $500 per day. This is to
               encourage you to maintain the property without Code
               Enforcement becoming your property manager advising
               you of the condition of the property.

 Doc. 42-4 at 69; Doc. 43-3 at 9.

         The case was scheduled to be heard by the Board on May 5, 2015. Docs. 42-4

 at 79; 43-3 at 11–12. On May 1, 2015, Ficken requested a continuance of the meeting

 or, alternatively, permission to appear via telephone, because he was “unable to travel

 to Florida” as a result of caring for his mother. Doc. 42-4 at 85; Doc. 42-1 at 113:1–2;

 Doc. 43-3 at 18. Ficken did not attend the hearing, but a former neighbor of the

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 Clearwater Property attended on his behalf. Doc. 42-1 at 113:8–24, 114:4–6; Doc. 43-

 2 ¶12. During the hearing on May 5, 2015, the Board passed a motion finding that the

 Lady Marion Property was in compliance, but had not been in compliance by the

 compliance date. Doc. 42-6 at 18:3–25, 19:1–25; Doc. 43-24 at 19:3–25, 20:1–25; Doc.

 43-2 ¶12; Doc. 63 ¶2. The Board issued a written order, dated May 13, 2015, which

 reflected that the Lady Marion Property had been in violation past the March 29, 2015

 date for compliance, but was presently in compliance. Doc. 42-4 at 117–118; Doc. 43-

 2 ¶13; Doc. 43-4 at 2–3; Doc. 63 ¶2. Although the Board did not impose a fine, Doc.

 42-1 at 116:15–17; Doc. 43-2 ¶13, the written order advised, “This matter is deemed

 to be of a recurring nature and should it recur, by law the Board can levy fines up to

 $500.00 a day plus daily interest and any recording fees shall be imposed against the

 Respondent,” Doc. 42-4 at 118; Doc. 43-4 at 3.

                 iii. 2018 Violation

       On July 5, 2018, Dunedin Code Enforcement Officer Thomas Colbert

 (“Colbert”) visited the Lady Marion Property and observed that the grass was longer

 than ten inches. Doc. 63 ¶3. For the period between July 5, 2018 and August 20, 2018,

 there is only one record of any interaction between Ficken and Colbert, which

 occurred on August 20, 2018. Id. at ¶4. On August 21, 2018, Ficken mowed the lawn

 of the Lady Marion Property. Id. at ¶5. However, on August 22, 2018, Colbert issued

 a “notice of violation” for the Lady Marion Property. See id. at ¶¶6, 8.

       On August 24, 2018, Ficken requested a continuance of the hearing because an

 August 25, 2018 plane ticket for his departure from Florida to South Carolina could
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 not be “changed or refunded.” Doc. 42-4 at 179; Doc. 43-7 at 2; Doc. 43-2 ¶¶22, 24.

 He alternatively requested to appear by telephone. Doc. 42-4 at 179; Doc. 43-7 at 2.

 He also stated his belief that the Lady Marion Property was in compliance from July

 21, 2018 to approximately August 11, 2018. Doc. 42-4 at 179; Doc. 43-7 at 2.

       On the same day, Ficken also provided a letter for inclusion in the record, if the

 Board denied his request for a continuance. Doc. 42-4 at 151; Doc. 43-7 at 3. Therein,

 Ficken admitted the repeat violation, but disputed the period of non-compliance. Doc.

 42-4 at 151; Doc. 43-7 at 3. Ficken asserted that his focus both before and after the

 March 2015 violation had been on attending to his mother in South Carolina and

 settling the out-of-state portion of her estate following her death. Doc. 42-4 at 151;

 Doc. 43-7 at 3. Further, Ficken advised that his lawnmower had “malfunctioned

 during the late July lawn cutting, but it was completed,” and the individual who had

 previously repaired the mower had died during his most recent absence. Doc. 42-4 at

 151; Doc. 43-7 at 3. Ficken claimed that he had unsuccessfully attempted to fix the

 mower on three occasions after it “halted during service” on August 12, 2018. Doc.

 42-4 at 151; Doc. 43-7 at 3. Ficken advised that after receiving a warning from Colbert

 regarding the “impending action” on August 20, 2018, he purchased a new mower

 and mowed the yard on August 21, 2018. Doc. 42-4 at 151; Doc. 43-7 at 3.

 Consequently, Ficken represented, “I now have a reliable machine for when I’m here,

 and have hired a firm, my fourth over the years, to cut the yard when I’m gone.” Doc.

 42-4 at 151; Doc. 43-7 at 3.



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       Ficken subsequently sent another letter, dated August 30, 2018, to the Board for

 inclusion in the record, if the Board denied his request for a continuance. Doc. 42-4 at

 153; Doc. 43-7 at 5. Therein, although he objected to the inclusion of “an inspection

 list going back more than a decade,” Ficken recognized that he had completed the

 requested mitigation in all prior cases, except for the 2015 case and the instant case.

 Doc. 42-4 at 153; Doc. 43-7 at 5. Additionally, he emphasized that future compliance

 would not be a problem because he was spending more time in Dunedin and had a

 “stronger, reliable mower.” Doc. 42-4 at 153; Doc. 43-7 at 5.

       The Board heard the case on September 4, 2018. See generally Doc. 42-9; Doc.

 43-26. Ficken did not attend the hearing on September 4, 2018, nor did anyone attend

 on his behalf. Doc. 42-1 at 140:6–11; Doc. 43-2 ¶¶23–24. The Board “voted to fine Mr.

 Ficken as a repeat offender at the statutory maximum daily fine of $500.” Doc. 63 ¶7.

 The parties agree that the “repeat offender” classification was based on the 2015

 violation. Id. The Board voted to impose two fines: one for the period from July 5 to

 August 20 and another, continuing fine, running from August 31. Id. The Board issued

 two written orders: (1) the first order, dated September 12, 2018, found Suncoast First

 Trust was in repeat violation from July 5, 2018 through August 20, 2018 and imposed

 a fine of $500 per day for each day that the violation existed; and (2) the second order,

 dated September 12, 2018, found Suncoast First Trust in repeat violation and ordered

 the assessment of a $500 daily fine, beginning on August 31, 2018, for each day until

 compliance was achieved. Doc. 42-4 at 199–203; Doc. 43-9 at 2–5.



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        The Board later accepted an affidavit attesting that the Lady Marion Property

 was in compliance as of September 10, 2018. Doc. 63 ¶8. As such, the fine was in the

 amount of $28,500.00, plus interest.3 Id. Ficken filed his Petition to Reconsider or

 Rehear. Doc. 42-4 at 209–210; Doc. 43-12 at 2–3. Ficken claimed, among other things,

 that he had learned on July 18, 2018 that the individual who had been cutting the yard

 in his absence—Russ Kellum—had died. Doc. 42-4 at 209; Doc. 43-12 at 2. Ficken

 averred that the Lady Marion Property was in compliance from July 20 until

 approximately August 12 and from August 21 until the present. Doc. 42-4 at 209–210.

 Ficken subsequently filed an Amended Petition to Reconsider or Rehear, in which he

 amended prior factual allegations. Doc. 42-4 at 221–22; Doc. 43-13 at 2–3.

        The Board heard Ficken’s request for reconsideration or rehearing on

 November 6, 2018, which Ficken attended. Doc. 43-28 at 5–7. See generally Doc. 42-

 10; Doc. 51-6. At the hearing, the Board passed a motion denying Ficken’s request for

 rehearing. Doc. 42-10 at 16:8–25, 17:1–16; Doc. 43-28 at 7.

        The City recorded copies of the orders imposing fines in the public records,

 constituting liens on the Lady Marion Property. Doc. 63 ¶9. In a February 13, 2019

 letter addressed to Suncoast First Trust, City Attorney Thomas Trask (“Trask”)

 advised that two liens had been placed on the Lady Marion Property on September

 18, 2018. Doc. 42-4 at 229; Doc. 43-14 at 2. Trask sought the collection of the liens in



 3
   The parties stipulate that this amount is calculated by multiplying $500 by 57, which
 represents the total number of days (47 days for the first period and 10 days for the second
 period). Doc. 63 ¶8 n.1.
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 the amount of $29,833.50, which included interest and costs. Doc. 63 ¶11; Doc. 42-4

 at 229; Doc. 43-14 at 2. The letter advised that the City would begin foreclosure

 proceedings, unless payment was made to the City within fifteen days of the date of

 the letter. Doc. 42-4 at 230; Doc. 43-14 at 3. Doc. 63 ¶11. On May 7, 2019, the Board

 authorized Trask to pursue foreclosure of the Lady Marion property to collect on the

 liens. Id. at ¶12. Ficken and Suncoast First Trust initiated this action on the same day.

 Id. at ¶13.

               B. Claims

        Ficken and Suncoast First Trust (collectively, “Plaintiffs”) bring four claims

 against the City and the Board (collectively, “Defendants”) in the operative, second

 amended complaint (the “Second Amended Complaint”). Doc. 77 ¶¶94–144.

        Plaintiffs first bring a claim for violation of the Excessive Fines Clause of the

 Eighth Amendment to the United States Constitution (Count I), in which they allege

 that, as applied, the City’s daily fines of $500 and aggregate fines of over $29,000 are

 disproportionate to the “offense of having tall grass.” Id. at ¶98. They also allege in

 this claim that, as applied, the “ultimate penalty” imposed by the City—the

 foreclosure—is disproportionate to the “offense of having tall grass.” Id. at ¶100. And,

 they allege that on its face and as applied, the “City’s system of limitless fines for all

 non-irreparable code violations” violates the Excessive Fines Clause of the Eighth

 Amendment. Id. at ¶102. Consequently, Plaintiffs allege that the City must be enjoined

 from collecting fines and foreclosing on the Lady Marion Property. Id. at ¶¶103–104.

 Plaintiffs also bring a claim for violation of the Excessive Fines Clause of Section 17
                                            10
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 of Article I of the Florida Constitution (Count II), which mirrors Count I, except that

 Plaintiffs also allege that, as applied, the City’s daily fines of $500 and aggregate fines

 of over $29,000, as well as the foreclosure of the Lady Marion Property as a result of

 tall grass, shocks the conscience. Id. at ¶¶110, 114.

        In Count III, which is labeled as “Procedural Due Process under the U.S.

 Constitution,” Plaintiffs claim that the City’s purported failure to notify Ficken of “the

 consequences of his ‘repeat violator’ classification” and supply him with “an

 opportunity to contest such classification before it was applied to him” constituted a

 violation of the Due Process Clause of the Fourteenth Amendment to the United

 States Constitution, as Ficken was allegedly entitled to “appropriate notice and an

 opportunity to be heard regarding his qualification for a legal status that, once applied,

 would result in the deprivation of certain procedural protections.” Id. at ¶126.

 According to Plaintiffs, the City’s imposition of fines against Ficken, without

 providing notice to Ficken that the fines “were being imposed on an ongoing basis”

 constitutes a violation of the Due Process Clause of the Fourteenth Amendment to the

 United States Constitution. Id. at ¶128. Consequently, Plaintiffs claim, the City must

 be enjoined from collecting the fines and foreclosing on the Lady Marion Property. Id.

 at ¶¶129–130. In Count IV, which is labeled “Procedural Due Process under the

 Florida Constitution,” Plaintiffs repeat these allegations, except they tailor them to the

 Due Process Clause of Section 9 of Article I of the Florida Constitution. Id. at ¶¶133–

 144.



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           Plaintiffs now move for summary judgment on all claims. Doc. 43 at 31.

 Defendants likewise move for summary judgment on all claims. Doc. 42 at 26.

 Responses in opposition to the motions have been filed, and the Court held oral

 argument on the motions. 4 Docs. 49, 51, 82.

     II.      LEGAL STANDARD

           Summary judgment is appropriate when the pleadings, depositions, answers to

 interrogatories, and admissions on file, with the affidavits, show there is no genuine

 issue as to any material fact and that the moving party is entitled to judgment as a

 matter of law. Fed. R. Civ. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

 The moving party bears the initial burden of stating the basis for its motion and

 identifying those portions of the record demonstrating the absence of genuine issues of

 material fact. Celotex, 477 U.S. at 323; Hickson Corp. v. N. Crossarm Co., 357 F.3d 1256,

 1259–60 (11th Cir. 2004). That burden can be discharged if the moving party can show

 the court that there is “an absence of evidence to support the nonmoving party’s

 case.” Celotex, 477 U.S. at 325.

           When the moving party has discharged its burden, the nonmoving party must

 then designate specific facts showing that there is a genuine issue of material fact. Id. at

 324. Issues of fact are “genuine only if a reasonable jury, considering the evidence


 4
  The parties renewed their motions after the Court dismissed the prior complaint as a shotgun
 pleading. Docs. 76, 80. Unlike the prior complaint, the Second Amended Complaint does not
 name members of the Board in their official capacities as defendants. See generally Docs. 22,
 77. Further, although the Case Management and Scheduling Order provided Plaintiffs and
 Defendants with leave to file a reply, neither Plaintiffs nor Defendants filed a reply. Doc. 17
 at 7.
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 present, could find for the nonmoving party,” and a fact is “material” if it may affect

 the outcome of the suit under governing law. Anderson v. Liberty Lobby, Inc., 477 U.S.

 242, 248–49 (1986). In determining whether a genuine issue of material fact exists, the

 court must consider all the evidence in the light most favorable to the nonmoving

 party. Celotex, 477 U.S. at 323. But, a party cannot defeat summary judgment by

 relying on conclusory allegations. See Hill v. Oil Dri Corp. of Ga., 198 F. App’x 852, 858

 (11th Cir. 2006). Summary judgment should be granted only if “the record taken as a

 whole could not lead a rational trier of fact to find for the non-moving party.”

 Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). “The court

 need consider only the cited materials, but it may consider other materials in the

 record.” Fed. R. Civ. P. 56(c)(3).

        The standard of review for cross-motions for summary judgment does not differ

 from the standard applied when only one party files a motion, but simply requires a

 determination of whether either of the parties deserves judgment as a matter of law on

 the facts that are not disputed. Am. Bankers Ins. Grp. v. United States, 408 F.3d 1328,

 1331 (11th Cir. 2005). The Court must consider each motion on its own merits,

 resolving all reasonable inferences against the party whose motion is under

 consideration. Id. The Eleventh Circuit has explained that “[c]ross-motions for

 summary judgment will not, in themselves, warrant the court in granting summary

 judgment unless one of the parties is entitled to judgment as a matter of law on facts

 that are not genuinely disputed.” United States v. Oakley, 744 F.2d 1553, 1555 (11th Cir.

 1984) (quoting Bricklayers Int’l Union, Local 15 v. Stuart Plastering Co., 512 F.2d 1017 (5th
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 Cir. 1975)). Cross-motions may, however, be probative of the absence of a factual

 dispute where they reflect general agreement by the parties as to the controlling legal

 theories and material facts. Id. at 1555–56.

    III.   DISCUSSION

       The Court will first (A) examine the relevant language of Chapter 162, Florida

 Statutes, Chapter 22, Dunedin Code of Ordinances (“DCO”) and then analyze (B) the

 due process claims and (C) the excessive fines claims. For the reasons articulated

 below, Defendants’ Dispositive Motion for Summary Judgment is due to be granted.

           A. Chapter 162, Florida Statutes, and Chapter 22, DCO

                  i. Introduction

       The analysis begins, as it must, with an examination of Chapter 162, Florida

 Statutes, and Chapter 22, DCO. The intent of the Local Government Code

 Enforcement Act, Section 162.01 et seq., Florida Statutes, is to

              promote, protect, and improve the health, safety, and welfare of
              the citizens of the counties and municipalities of this state by
              authorizing the creation of administrative boards with authority
              to impose administrative fines and other noncriminal penalties
              to provide an equitable, expeditious, effective, and inexpensive
              method of enforcing any codes and ordinances in force in
              counties and municipalities, where a pending or repeated
              violation continues to exist.

 Fla. Stat. §§ 162.01, 162.02.

       To that end, the Florida Legislature authorized municipalities to create, by

 ordinance, local government code enforcement boards. Id. § 162.03(1). Municipalities

 may, by ordinance, adopt an alternate code enforcement system that provides code


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 enforcement boards with “the authority to hold hearings and assess fines against

 violators of the respective . . . municipal codes and ordinances.” Id. § 162.03(2).

       The DCO largely mirrors the language of Chapter 162. 5 By ordinance, the City

 “created a code enforcement board” to “hold hearings and make findings and impose

 fines for violations,” as provided in Chapter 22, DCO. Id. § 22-41.

                 ii. Violations, Repeat Violations, Notice, and Fines

       A “code inspector”—“code enforcement officer” under the DCO—maintains

 the duty to initiate code enforcement proceedings of the various codes and

 ordinances. Fla. Stat. § 162.06(1); City of Dunedin, Fla., Code of Ordinances § 22-

 71. Members of the Board do not have the power to initiate proceedings. Fla. Stat. §

 162.06(1); City of Dunedin, Fla., Code of Ordinances § 22-71. The DCO defines

 “code enforcement officer” as “any authorized agent or employee of the city whose

 duty it is to ensure code compliance . . . .” 6 City of Dunedin, Fla., Code of

 Ordinances § 22-42.



 5
  For example, Section 22-1, DCO, provides that the City’s intent through Chapter 22 of the
 DCO is to
              promote, protect, and improve the health, safety, and welfare of the
              citizens of the city by creating a volunteer administrative board with
              authority to impose administrative fines and other noncriminal
              penalties to provide an equitable, expeditious, effective, and
              inexpensive method of enforcing any codes and ordinances in force
              in the city, where a pending or repeated violation continues to exist.

 City of Dunedin, Fla., Code of Ordinances § 22-1. See id. § 22-3 (providing that the
 legislative intent of Chapter 22 is to supply “an additional or supplemental means of
 obtaining compliance with city codes and ordinances”).
 6
  “Code means a compilation of regulations, standards, rules and/or ordinances, such as any
 of the several chapters of the City Code or its ordinances, the Land Development Code, or
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        Section 162.06(2), Florida Statutes, and Section 22-72, DCO, set forth the

 procedures to be followed if the code enforcement official finds a violation. This

 procedure differs from the procedure for repeat violations. Fla. Stat. § 162.06(2)–(3);

 City of Dunedin, Fla., Code of Ordinances §§22-72, 22-73. Under the statute, except

 as provided in Section 162.06(3), Florida Statutes—addressing repeat violations—and

 Section 162.06(4), Florida Statutes—addressing instances in which the code inspector

 has reason to believe that a violation or a condition causing a violation “presents a

 serious threat to public health, safety, and welfare” or the violation is irreversible or

 irreparable—“if a violation is found, the code inspector shall notify the violator and

 give him or her a reasonable time to correct the violation.” Fla. Stat. § 162.06(2)–(4).

 If the violation continues past the time specified for correction, the code inspector must

 notify an enforcement board and request a hearing. Id. § 162.02(2). The code

 enforcement board must schedule a hearing, and written notice of the hearing must be

 hand-delivered or mailed in the manner provided in the statute to the violator. Id. The

 code enforcement board may further serve notice by publication or posting, as

 provided in the statute. Id. If the violation is corrected and subsequently recurs, or if

 the violation is not corrected by the time specified by correction, the case may be

 presented to the code enforcement board, regardless if the violation has been corrected

 before the board hearing, and the notice shall so state. Id.

        The DCO mirrors this language regarding violations:


 any other codes or technical codes of the city.” City of Dunedin, Fla., Code of Ordinances §
 22-42 (emphasis in original).
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               Except as provided in sections 22-73 [addressing repeat
               violations] and 22-74 [addressing instances in which the code
               enforcement officer has reason to believe that a violation or a
               condition causing a violation serves as a serious threat to public
               health, safety, and welfare or the violation or condition is
               irreversible or irreparable], if a violation of the codes or
               ordinances is found, the code enforcement officer shall notify
               the violator and give him a reasonable time to correct the
               violation. Should the violation continue past the time specified
               for correction, the code enforcement officer shall notify the
               code enforcement board and request a hearing. The code
               enforcement board, through its clerical staff, shall schedule a
               hearing, and written notice of such hearing shall be hand
               delivered or mailed as provided in section 22-84 to the violator.
               At the option of the code enforcement board, notice may
               additionally be served by publication or posting as provided
               in section 22-84. If the violation is corrected and then recurs, or
               if the violation is not corrected by the time specified for
               correction by the code enforcement officer, the case may be
               presented to the code enforcement board even if the violation
               has been corrected prior to the board hearing, and the notice
               shall so state.

 City of Dunedin, Fla., Code of Ordinances § 22-72.

        But, a “repeat violation” is treated differently. A “repeat violation”

               means a violation of a provision of a code or ordinance by a
               person who has been previously found through a code
               enforcement board or any other quasi-judicial or judicial process,
               to have violated or who has admitted violating the same
               provision 5 years prior to the violation, notwithstanding the
               violations occur at different locations.

 Fla. Stat. § 162.04(5). See City of Dunedin, Fla., Code of Ordinances § 22-42.

        “If a repeat violation is found, the code inspector shall notify the violator but is

 not required to give the violator a reasonable time to correct the violation. The code inspector,

 upon notifying the violator of a repeat violation, shall notify an enforcement board

 and request a hearing.” Fla. Stat. § 162.06(3) (emphasis added). The code enforcement

 board, through its staff, must schedule a hearing and provide the notice required under

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 the statute. Id. The case may be presented to the code enforcement board even if the

 repeat violation is corrected before the hearing, and the notice shall so state. Id.

 Further, “[i]f the repeat violation has been corrected, the code enforcement board

 retains the right to schedule a hearing to determine costs and impose the payment of

 reasonable enforcement fees upon the repeat violator.” Id. The repeat violator also may

 elect to waive his or her rights to the hearing and pay the costs determined by the code

 enforcement board. Id. Once again, the DCO mirrors all of this language, except that

 the DCO provides that “[t]he case may be presented to the enforcement board even if

 the repeat violation has been corrected prior to the board hearing, the automatic fine

 shall be levied, and the notice shall so state.” City of Dunedin, Fla., Code of Ordinances

 § 22-73 (emphasis added).

        All required notices must be provided to the alleged violator by one of four

 specified methods. Fla. Stat. § 162.12(1)(a)–(d); City of Dunedin, Fla., Code of

 Ordinances § 22-84(a)(1)–(4). One of the specified methods for notice under the DCO

 is by “[c]ertified mail to the address listed in the tax collector’s office for tax notices,

 or to any other address provided by the property owner in writing to the city

 commission for the purpose of receiving notices.” City of Dunedin, Fla., Code of

 Ordinances §22-84(a)(1). As an additional form of notice, a code enforcement board

 may elect to utilize notice by publication or posting. Fla. Stat. § 162.12(b); City of

 Dunedin, Fla., Code of Ordinances § 22-84(b).

        During a hearing, a code enforcement board must take testimony from the code

 enforcement officer and the alleged violator. Fla. Stat. § 162.07(3); City of Dunedin,
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 Fla., Code of Ordinances § 22-75(e). At the hearing’s conclusion, an enforcement

 board must issue findings of facts, based on evidence of record, and conclusions of

 law, and the board must “issue an order affording the proper relief” consistent with

 those powers granted. Fla. Stat. § 162.07(3); City of Dunedin, Fla., Code of

 Ordinances § 22-75(f). Additionally, the order “may include a notice that it must be

 complied with by a specified date and that a fine may be imposed . . . if the order is

 not complied with by such date.” Fla. Stat. § 162.07(3). See City of Dunedin, Fla.,

 Code of Ordinances § 22-75(f).

       Under the statute, a code enforcement board, upon being notified by the code

 inspector that an order of the board “has not been complied with by the set time” or

 “upon a finding that a repeat violation has been committed,” may order the violator

 to pay a fine in the amount specified for fines under Chapter 162, Florida Statutes, “for

 each day the violation continues past the date set by the enforcement board for

 compliance or, in the case of a repeat violation, for each day the repeat violation

 continues, beginning with the date the repeat violation is found to have occurred by

 the code inspector.” Fla. Stat. § 162.09(1). Similarly, the DCO provides that the Board,

 upon notification by a code enforcement officer that an order of the Board “has not

 been complied with by the time set” or, “upon finding that a repeat violation has been

 committed,” may order the violator to pay a fine in the amount specified in Chapter

 22, DCO, “for each day the violation continues past the date set by the code

 enforcement board for compliance or, in the case of a repeat violation, for each day

 the repeat violation continues past the date of notice to the violator of the repeat
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 violation.” If a finding of a violation or repeat violation has been made, a hearing is

 not necessary for issuing an order imposing the fine. Fla. Stat. § 162.09(1); City of

 Dunedin, Fla., Code of Ordinances § 22-79(c). Fines imposed pursuant to this section

 may not exceed $250 per day for a first violation, may not exceed $500 per day for a

 repeat violation, and may include costs of repair. Fla. Stat. § 162.09(2)(a); City of

 Dunedin, Fla., Code of Ordinances § 22-79(d).

       A code enforcement board, in determining the amount of any fine, must

 consider the following factors: (1) the gravity of the violation; (2) any actions taken by

 the violator to correct the violation; and (3) any previous violations committed by the

 violator. Fla. Stat. § 162.09(2)(b); City of Dunedin, Fla., Code of Ordinances § 22-

 80(1)–(3). The DCO adds another factor for consideration: “[t]he courtesy and

 cooperation the violator extends to the code enforcement officer.” City of Dunedin,

 Fla., Code of Ordinances § 22-80(4).

                 iii. Liens and Appeal

       Significantly, a certified copy of a code enforcement board order imposing a fine

 may be recorded in the public records of the county and subsequently such order shall

 constitute a lien against the land upon which the violation exists and upon any other

 real property or personal property which is owned by the violator. Fla. Stat. §

 162.09(3); City of Dunedin, Fla., Code of Ordinances § 22-81. The DCO deems this

 lien superior to all other liens or encumbrances against the property, except taxes. City

 of Dunedin, Fla., Code of Ordinances § 22-81. Further, upon petition to the circuit

 court, the order “may be enforced in the same manner as a court judgment by the
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 sheriffs of the state,” but the order shall not be deemed a court judgment, except for

 purposes of enforcement. Fla. Stat. § 162.09(3); City of Dunedin, Fla., Code of

 Ordinances § 22-81. A fine imposed pursuant to the aforementioned language shall

 continue to accrue until either the violator comes into compliance or a judgment is

 rendered in a suit to foreclose on a lien filed pursuant to the sections governing liens,

 whichever occurs first. Fla. Stat. § 162.09(3); City of Dunedin, Fla., Code of

 Ordinances § 22-81. Like the statute, the DCO provides that, after three months from

 the filing of such lien that remains unpaid, the Board may authorize the city attorney

 to foreclose on the lien. City of Dunedin, Fla., Code of Ordinances § 22-81; Fla. Stat.

 § 162.09.

       Finally, an “aggrieved party” may appeal a final administrative order of a code

 enforcement board to the circuit court. Fla. Stat. § 162.11; City of Dunedin, Fla., Code

 of Ordinances § 22-83. This appeal shall be limited to appellate review of the record

 created before the enforcement board, not a hearing de novo. Fla. Stat. § 162.11; City

 of Dunedin, Fla., Code of Ordinances § 22-83. “An appeal must be filed within 30

 days of the execution of the order to be appealed.” Fla. Stat. § 162.11; City of Dunedin,

 Fla., Code of Ordinances § 22-83.

       With this framework in mind, the Court will now analyze the due process

 claims and the excessive fines claims.

             B. Due Process

       As discussed above, Plaintiffs bring due process claims under the United States

 Constitution and the Florida Constitution against Defendants. These claims will be
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 addressed together. The Court will (i) examine relevant law before (ii) analyzing

 Defendants’ Dispositive Motion for Summary Judgment and (iii) analyzing Plaintiffs’

 Dispositive Motion for Summary Judgment. For the reasons set forth below,

 Defendants’ Dispositive Motion for Summary Judgment will be granted as to these

 due process claims.

                  i. Relevant Law

       The Fourteenth Amendment to the United States Constitution provides, in

 relevant part, “nor shall any State deprive any person of life, liberty, or property,

 without due process of law.” U.S. Const. amend. XIV § 1. “The Supreme Court’s

 interpretation of this clause explicates that the amendment provides two different kinds

 of constitutional protection: procedural due process and substantive due process.”

 McKinney v. Pate, 20 F.3d 1550, 1555 (11th Cir. 1994) (citing Zinermon v. Burch, 494

 U.S. 113, 125 (1990)). Here, Plaintiffs style their claims as procedural due process

 claims.

       “Procedural due process imposes constraints on governmental decisions which

 deprive individuals of ‘liberty’ or ‘property’ interests within the meaning of the Due

 Process Clause of the Fifth or Fourteenth Amendment.” Mathews v. Eldridge, 429 U.S.

 319, 333 (1976). “The fundamental requirement of due process is the opportunity to

 be heard at a meaningful time and in a meaningful manner.” Id. (internal quotation

 marks omitted). Due process “is not a technical conception with a fixed content

 unrelated to time, place and circumstances,” but instead “is flexible and calls for such

 procedural protections as the particular situation demands.” Id. at 334 (internal
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 quotation marks omitted). Determining the requirements of due process in a particular

 situation requires a court to apply the balancing test articulated in Mathews. Grayden v.

 Rhodes, 345 F.3d 1225, 1233 (11th Cir. 2003). Under this test,

              identification of the specific dictates of due process generally
              requires consideration of three distinct factors: First, the private
              interest that will be affected by the official action; second, the risk
              of an erroneous deprivation of such interest through the
              procedures used, and the probable value, if any, of additional or
              substitute procedural safeguards; and finally, the Government's
              interest, including the function involved and the fiscal and
              administrative burdens that the additional or substitute
              procedural requirement would entail.

 Mathews, 424 U.S. at 335. See also Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S.

 306, 314 (1950) (“An elementary and fundamental requirement of due process in any

 proceeding which is to be afforded finality is notice reasonably calculated, under all

 the circumstances, to apprise interested parties of the pendency of the action and afford

 them an opportunity to present their objections.”).

       Similarly, the Florida Constitution provides, in relevant part, that “[n]o person

 shall be deprived of life, liberty, or property without due process of law . . . .” Fla.

 Const. art. I, § 9. “Procedural due process requires both fair notice and a real

 opportunity to be heard.” Keys Citizens for Responsible Gov’t, Inc. v. Fla. Keys Aqueduct

 Auth., 795 So. 2d 940, 948 (Fla. 2001). See also Scull v. State, 569 So. 2d 1251, 1252

 (Fla. 1990) (“The essence of due process is that fair notice and a reasonable

 opportunity to be heard must be given to interested parties before judgment is

 rendered.”). “The notice must be of such nature as reasonably to convey the required

 information, and it must afford a reasonable time for those interested to make their

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 appearance.” Keys Citizens, 569 So. 2d at 1252 (internal quotation marks omitted)

 (quoting Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950)). And,

 this opportunity to be heard must be “‘at a meaningful time and in a meaningful

 manner.’” Id. (quoting Mathews, 424 U.S. at 333).

          Relevant to the federal procedural due process claim here, the Eleventh Circuit

 has established a three-prong test for establishing a procedural due process claim under

 42 U.S.C. § 1983. 7 Foxy Lady, Inc. v. City of Atlanta, 347 F.3d 1232, 1236 (11th Cir.

 2003). Under this test, a plaintiff must establish: (1) “a deprivation of a

 constitutionally-protected interest”; (2) state action; and (3) a “constitutionally



 7
     The statute provides:

                 Every person who, under color of any statute, ordinance,
                 regulation, custom, or usage, of any State or Territory or the
                 District of Columbia, subjects, or causes to be subjected, any
                 citizen of the United States or other person within the
                 jurisdiction thereof to the deprivation of any rights, privileges, or
                 immunities secured by the Constitution and laws, shall be liable
                 to the party injured in an action at law, suit in equity, or other
                 proper proceeding for redress, except that in any action brought
                 against a judicial officer for an act or omission taken in such
                 officer’s judicial capacity, injunctive relief shall not be granted
                 unless a declaratory decree was violated or declaratory relief was
                 unavailable. For the purposes of this section, any Act
                 of Congress applicable exclusively to the District of Columbia
                 shall be considered to be a statute of the District of Columbia.

 42 U.S.C. § 1983. “A municipality may be liable under this section if it “‘subjects’ a person to
 a deprivation of rights or ‘causes’ a person ‘to be subjected’ to such deprivation.” Connick v.
 Thompson, 563 U.S. 51, 60 (2011). “Plaintiffs who seek to impose liability of local
 governments under § 1983 must prove that ‘action pursuant to official municipal policy’
 caused their injury.” Id. “Official municipal policy includes decisions of a government’s
 lawmakers, the acts of its policymaking officials, and practices so persistent and widespread
 as to practically have the force of law.” Id.


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 inadequate process.” Id. (internal quotation marks omitted) (quoting Cryder v.

 Oxendine, 24 F.3d 175, 177 (11th Cir. 1994)). There also must be a causal connection

 between the state action and the deprivation. Kupke v. Orange Cnty., 293 F. App’x 695,

 697 (11th Cir. 2008). 8

       However, “even if a procedural deprivation exists during an administrative

 hearing, [a procedural due process] claim will not be cognizable under § 1983 if the

 state provides a means by which to remedy the alleged deprivation.” Foxy Lady, 347

 F.3d at 1238 (citing McKinney, 20. F.3d at 1565). Indeed, “a procedural due process

 violation is not complete ‘unless and until the State fails to provide due process.’”

 McKinney, 20 F.3d at 1557 (quoting Zinermon, 494 U.S. at 123). “In other words, the

 state may cure a procedural deprivation by providing a later procedural remedy; only

 when the state refuses to provide a process sufficient to remedy the procedural

 violation does a constitutional violation actionable under section 1983 arise.” Id.

       “[T]he McKinney rule looks to the existence of an opportunity—to whether the

 state courts, if asked, generally would provide an adequate remedy for the procedural

 deprivation the federal court plaintiff claims to have suffered.” Horton v. Bd. of Cnty.

 Comm’rs of Flagler Cnty., 202 F.3d 1297, 1300 (11th Cir. 2000). “If state courts would,

 then there is no federal procedural due process violation regardless of whether the

 plaintiff has taken advantage of the state remedy or attempted to do so.” Id. Further,

 “[i]f state courts generally would not provide an adequate remedy for that type of


 8
  Unpublished decisions of the Eleventh Circuit are not binding precedent, but may be cited
 as persuasive authority. 11th Cir. R. 36-2.
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 procedural deprivation, then the federal court determines whether the Fourteenth

 Amendment Due Process Clause requires such a remedy, and if it does, the federal

 court remedies the violation.” Id. In considering whether adequate remedies exist, a

 court must consider which remedies are available under state law, not whether the

 plaintiff took advantage of those remedies. Kupke, 293 F. App’x at 698 (citing Horton,

 202 F.3d at 1300). To that end, “Florida law ordinarily provides for pre-deprivation

 process, namely notice and a hearing before the Enforcement Board before a citation

 will issue, with appellate review to follow.” Id.

                  ii. Defendants’ Dispositive Motion for Summary Judgment

        Each of the procedural due process claims is premised on two alleged failures:

 the City’s purported failure to inform Ficken of the consequences of his 9 “‘repeat

 violator’ classification and provide him with an opportunity to contest such

 classification before it was applied to him,” as he “was entitled to appropriate notice

 and an opportunity to be heard regarding his qualification for a legal status that, once

 applied, would result in the deprivation of certain procedural protections”; and the

 City’s “imposition of fines” against Ficken without providing him notice “that the

 fines were being imposed on an ongoing basis.” Doc. 77 ¶¶126, 128, 138, 140.




 9
   The allegations and arguments are styled in this manner, even though Suncoast First Trust
 served as the respondent in the code enforcement proceedings and the 2018 Board orders
 stated that Suncoast First Trust was in repeat violation. Doc. 42-4 at 199–203. As such, in
 certain places in this order, the Court adopts that practice in referencing or discussing the
 allegations or arguments.
                                              26
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        Because it is relevant to the analysis, the Court notes that the parties treat

 Plaintiffs’ federal procedural due process claim as a procedural due process claim

 under Section 1983. 10 Therefore, the Court construes the federal due process claim as

 a procedural due process claim under Section 1983. The Court also construes both

 claims as as-applied challenges.

         Defendants argue the following: the evidence contravenes Plaintiffs’ allegation

 that Ficken did not receive due process and Ficken’s claim that Defendants failed to

 notify him that he was classified as a repeat offender; Plaintiffs fail to establish a federal

 due process claim under Section 1983 and, even if a deprivation occurred, Chapter

 162, Florida Statutes, and Chapter 22, DCO, provided an opportunity for Ficken to

 seek review before the state court of the procedural due process issues that he now

 raises; and Ficken’s claim for a procedural due process violation under the Florida

 Constitution fails because he received due process and failed to exhaust his

 administrative remedies by not appealing any of the Board’s orders. Doc. 42 at 22–25.



 10
   In setting forth a basis for the claim’s alleged failure, Defendants cite the three-prong test
 for establishing a procedural due process claim under Section 1983, arguing that Plaintiffs
 must meet these factors to “establish such a claim.” Doc. 42 at 23. Defendants also argued
 during oral argument that, to establish a federal due process claim under the Fourteenth
 Amendment, Plaintiffs must show “the element of constitutionally inadequate process,”
 which is one of the elements under this test. Doc. 84 at 19:4–8. In responding to the due
 process arguments raised in Defendants’ Dispositive Motion for Summary Judgment,
 Plaintiffs represent that “this is a section 1983 case and the procedural due process violation
 was already complete when the City failed to provide notice.” Doc. 51 at 24. Plaintiffs
 relatedly claim that Defendants’ exhaustion argument falls short because the Supreme Court
 has held that exhaustion is not required for Section 1983 claims. Id. Finally, the Second
 Amended Complaint, which brings the same claims as the prior complaints, alleges that the
 state court from which this action was initially removed originally had jurisdiction, in part, as
 a result of Section 1983. Doc. 77 ¶6.
                                                27
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                        1. Evidence

       To understand the genesis of Ficken’s designation as a “repeat violator,” the

 Court must examine the 2015 violation at the Lady Marion Property. The parties do

 not dispute that the City issued a citation for overgrown grass at the Lady Marion

 Property in 2015. Among other evidence, Defendants provide the affidavit of Joan

 McHale (“McHale”), Business Manager for the City’s Code Enforcement Operations,

 who serves as the custodian of the City’s records for code enforcement cases. Doc. 42-

 4 at 2. McHale provides numerous records with her affidavit. Relevant here, Kepto

 generated the 2015 Notice of Violation on March 17, 2015, which indicated “Grass or

 Weeds Exceed 10 Inches in Height” as the violation for the Lady Marion Property and

 directed the violation to be corrected by March 29, 2015. Doc. 42-4 at 10, 60–61. A

 notice to appear for a hearing before the Board would be sent if the violation was not

 “remedied and discontinued.” Id. at 60. The 2015 Notice of Violation also provided:

              You are hereby notified to correct the attached violation(s)
              and notify the above signed Special Codes Inspector within
              the time limits specified. Failure to comply will result in
              charges being filed against you with the Code Enforcement
              Board of the City of Dunedin which may result in a
              potential fine up to $250.00 per day. Repeat violators can be
              fined up to $500.00 per day. Such charges will be a lien upon
              the real and/or personal property of the violator and may
              be collected pursuant to law. The City is also entitled to
              collect all costs incurred in recording and satisfying a lien
              against the property.

 Id. at 61 (original emphasis removed).

       Thus, in addition to advising him that failure to correct the violation could result

 in a fine of $250.00 per day, the 2015 Notice of Violation advised Ficken that repeat

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 violators could be fined up to $500.00 per day. These fines are consistent with Chapter

 162, Florida Statutes, and Chapter 22, DCO, for violations and repeat violations.

 Kepto mailed the 2015 Notice of Violation to Suncoast First Trust at the Lady Marion

 Address by March 18, 2015. Id. at 10. Kepto also e-mailed to Ficken the “substantive

 contents” of the 2015 Notice of Violation, which appears to have omitted the language

 excerpted above. Id.; Doc. 42-4 at 63. Nonetheless, Plaintiffs do not challenge the

 notice provided for the 2015 Notice of Violation. It is undisputed that Ficken, who

 was in South Carolina at this time caring for his mother, responded on March 30,

 2015—one day past the date set for compliance in the 2015 Notice of Violation—to

 request more time.

       In his communications with Ficken, Kepto reiterated that a repeat violator may

 face a fine up to $500 per day. In rejecting Ficken’s request to extend the compliance

 date, Kepto emphasized that, assuming the Board found Ficken to be in violation, any

 documented overgrowth within the next five years could result in a “$500 PER DAY

 lien as a ‘Repeat Violation.’” Doc. 42-4 at 67. Additionally, when Ficken asked Kepto

 on April 7, 2015—over one week after the date set for compliance—to cancel the

 scheduled hearing because a lawn service provider had mowed the Lady Marion

 Property’s lawn, Kepto predicted that the Board would find that the Lady Marion

 Property had not been in compliance, meaning that any documented instance of

 overgrowth observed at one of Ficken’s properties within the next five years would

 result in Ficken returning before the Board for a repeat violation, “which could result

 in a higher fine of $500 per day.” Doc. 42-4 at 69. Although these communications do
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 not constitute “notice” under Chapter 162, Florida Statutes, or Chapter 22, DCO, they

 demonstrate efforts to advise Ficken of the consequences of repeat violations. In

 moving for summary judgment, Plaintiffs also provide these communications and do

 not dispute that Ficken received them.

        Because the violation had continued past the March 29, 2015 compliance date,

 Kepto requested a hearing before the Board. Id. at 11, 73–74. Kepto searched the

 Property Appraiser records to ensure identification of the owner of record for the Lady

 Marion Property and sent a Notice of Hearing via certified mail to Suncoast First Trust

 at the address for the Lady Marion Property. Id. at 12, 81. The delivery receipt is dated

 April 13, 2015, and signed by “J. Ficken.” Id. at 81. Further, Kepto executed an

 Affidavit of Service, indicating that he also sent the Notice of Hearing via first class

 mail, posted a copy at the Lady Marion Property, posted a copy at the City’s offices.

 Id. at 12, 83.

        The parties agree that the Board heard the case for the 2015 grass overgrowth

 violation for the Lady Marion Property on May 5, 2015. The parties also agree that

 Ficken did not attend the hearing. The parties likewise agree that the Board found the

 Lady Marion Property was in compliance, but had not been in compliance by the

 March 29, 2015 compliance date. According to McHale, the May 5, 2015 hearing was

 the first instance that the Board adjudicated Ficken to have violated the DCO.11 Id. at


 11
   Although unnecessary to the analysis, records provided by McHale also demonstrate that
 code enforcement officers issued at least twelve notices of violation for overgrowth at the
 Lady Marion Property between 2007 and 2013. Doc. 42-4 at 3–9. In many of these instances,
 no further action was taken once the grass was mowed. See id.
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 10. Significantly, the Board’s written order, which stated that the Lady Marion

 Property had been in violation past the compliance date, but was presently in

 compliance, provided:

              The Board has determined that Respondent is in compliance
              with IMPC Section 302.4. This matter is deemed to be of a recurring
              nature and should it recur, by law the Board can levy fines up to $500.00
              a day plus daily interest and any recording fees shall be imposed against
              the Respondent [Suncoast First Trust].

 Doc. 42-4 at 118 (emphasis added).

       The City mailed a copy of the Board’s written order to Suncoast First Trust at

 the address for the Lady Marion Property on May 14, 2015, the receipt for which

 evidences a signature of “J. Ficken” on June 20, 2015. Id. at 13, 120. Plaintiffs do not

 dispute Ficken’s receipt of the Board’s written order. Indeed, in moving for summary

 judgment, Plaintiffs provide a copy of the written order as an exhibit to Ficken’s

 declaration in support of Ficken’s proposition that he “later learned” that “the City

 would treat [him] as a repeat violator for any case involving tall grass in the next five

 years” as a consequence of the Board’s finding. Doc. 43-2 ¶13. Thus, even when

 viewing the evidence in the light most favorable to Plaintiffs, the record demonstrates

 that Ficken received the Board’s 2015 written order. Ficken admitted in his deposition,

 which Defendants provide, that he did not appeal the Board’s 2015 written order or

 otherwise ask the Board to reconsider the order. Doc. 42-1 at 116:9–14. Plaintiffs do

 not provide any evidence to the contrary.

       Turning to the 2018 repeat violation, it is undisputed that Colbert observed that

 the grass at the Lady Marion Property was longer than ten inches on July 5, 2018.

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 Likewise, the parties agree that Ficken mowed the lawn of the Lady Marion Property

 on August 20, 2018, and that there is only one record of any interaction between

 Colbert and Ficken, which also occurred on that date. 12 Although labeled by the parties

 as a “notice of violation” in their Joint Statement of Undisputed Facts, the records

 provided by McHale demonstrate that Colbert issued a notice of repeat violation for

 the Lady Marion Property on August 22, 2018 (the “2018 Notice of Repeat

 Violation”). Doc. 42-4 at 14, 144–145. The 2018 Notice of Violation, which was

 addressed to Suncoast First Trust at the address for the Lady Marion Property, stated

 that an inspection of the Lady Marion Property on July 5, 2018, revealed a repeat

 violation and provided:

               The violation listed on the attachment must be corrected
               immediately or a REPEAT FINE WILL BE ASSESSED FOR
               EACH DAY it occurs. You will receive a notice to appear for a
               hearing before the Dunedin Code Enforcement Board for
               repeating the violation. If you are found to have committed a
               repeat violation by the Dunedin Code Enforcement Board, you
               will be assessed the repeat fine for each day the violation has
               occurred and that fine will become a lien on your real and/or
               personal property and may be collected pursuant to law.

 Doc. 42-4 at 144 (emphasis in original).

        Colbert sent this notice via “regular mail” to Suncoast First Trust at the Lady

 Marion Property. Id. at 14, 144. Additionally, Colbert prepared another notice,



 12
   During his deposition, Colbert claimed that he encountered Ficken in his yard on July 5,
 2018, but also stated that this encounter occurred on August 20, 2018. Doc. 42-7 at 94:11–25,
 95:1–19, 112:19–25, 113:1–25. Ficken asserts that the first time he communicated with
 Colbert regarding the 2018 case was on August 20, 2018, when Colbert purportedly advised
 Ficken, “You’re going to get a big bill from the city.” Doc. 43-2 ¶18. As Defendants highlight
 in their motion, this is not material because a verbal warning is not required.
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 entitled “Notice of Hearing (Repeat Violation),” also dated August 22, 2018 (the

 “2018 Hearing and Repeat Violation Notice”). Id. at 137 (emphasis in original). The

 2018 Hearing and Repeat Violation Notice cited the ordinance that had been violated,

 listed the date of the violation as July 5, 2018, indicated the violation was a repeat

 violation, and advised that a hearing was set for September 4, 2018. Id. Further, the

 2018 Hearing and Repeat Violation Notice provided:

              If you wish to present your side of the case, you must appear
              before the Code Enforcement Board on that date. Failure to
              appear may result in the Code Enforcement Board proceeding in
              your absence. Should you be found in violation of the above Code, the
              Dunedin Code Enforcement Board has the power by law to levy
              fines of up to $500.00 a day against you and your property for
              every day that any violation continues beyond the date set in an
              order of the Board for compliance and the City shall be entitled
              to recover attorney’s fees and all costs incurred in prosecuting the
              case before the Board. If the violation is corrected before the date
              of the hearing stated above, the case may still be presented to the
              Board and a fine may be assessed.

                                              ...

              You will also have the opportunity to present witnesses as well
              as question the witnesses against you prior to the Board making a
              determination.

 Id. (emphasis added).

       McHale sent a copy of the 2018 Hearing and Repeat Notice Violation via

 certified mail to Suncoast First Trust at the Lady Marion Property on August 22, 2018.

 Id. at 14. McHale provides an electronic mailing record, which she claims indicates

 that the 2018 Hearing and Repeat Notice Violation was held at the post office at the

 customer’s request. Id. Indeed, an attached electronic delivery confirmation indicates

 that a document described as “NOH 9-4-2018” was held at the post office at

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 “Customer Request” on August 24, 2018. 13 Id. at 139. Ficken confirmed that he made

 this request. Doc. 42-1 at 124:2–5. It is undisputed that, on the same day, Ficken

 requested a continuance of the hearing, or permission to appear telephonically,

 because his planet ticket could not be “changed or refunded.” It is also undisputed that

 Ficken admitted the repeat violation, although he contested the period of non-

 compliance. Additionally, Colbert executed an affidavit of service, which provided

 that, on August 22, 2018, a copy of “Notice of Hearing/Order” was: (1) mailed via

 certified mail, return receipt requested; (2) posted on the Lady Marion Property; and

 (3) posted at the City’s offices. Doc. 42-3 at 70; Doc. 42-4 at 14, 147. The attached

 “Notice of Hearing/Order” is not provided, but Defendants represent that this

 document was the 2018 Hearing and Repeat Notice Violation. Ficken’s deposition

 testimony supports this representation, as he indicated that he first learned of the

 hearing when he found a notice at the Lady Marion Property. Doc. 42-1 at 125:16–25,

 126:1–4.

       Ficken did not attend the September 4, 2018 hearing, nor did anyone attend on

 his behalf. McHale provides the minutes from the hearing, which demonstrate that

 Colbert explained that he had observed the overgrowth on July 5, 2018 and, because

 the Board heard “this same violation on May 5, 2015” and found that “any future

 violations would be a repeat violation with a higher fine,” the overgrowth at the Lady

 Marion Property constituted a repeat violation. Doc. 42-4 at 176. Colbert also


 13
   Defendants also provide this document as an exhibit to Ficken’s deposition. Doc. 42-3 at
 67.
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 provided several photographs of the overgrowth taken during July and August of 2018.

 Id. at 15, 183–197. According to the minutes, Kepto explained that the “City is asking

 for a two-part order from the Board”: (1) a finding by the Board that the Lady Marion

 Property was in repeat violation for a period of time until it came into compliance; and

 (2) a finding that the Lady Marion Property was in repeat violation beginning on

 August 31, 2018, and continuing until the compliance was achieved. Id. Colbert

 recommended that the Board impose a $500 per day fine “based on the facts and

 circumstances,” “the history of the property with the same owner,” and the “same

 violation.” Id. The parties agree that the Board thereafter voted to fine Suncoast First

 Trust as a repeat offender at the statutory maximum daily fine of $500. The Board’s

 written orders followed.

                         2. Analysis

       Upon consideration of the evidence, the relevant law, and the arguments of the

 parties, Defendants are entitled to summary judgment on the due process claims. First,

 the City informed Ficken of the consequences of the repeat violator classification and

 provided him with a meaningful opportunity to contest this classification before it was

 applied. 14 The 2015 Notice of Violation notified Ficken of the overgrowth violation.

 The 2015 Notice of Violation gave Ficken a reasonable time to correct the violation,



 14
    In responding to the due process arguments raised by Defendants in their summary
 judgment motion, Plaintiffs focus on only the City’s purported delay in informing Ficken in
 2018 that he “had been fined” and why the mere existence of an appellate mechanism did not
 bar Ficken from filing this action. Doc. 15 at 21–29.

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 and, critically, advised of the consequences that repeat violators may face: fines up to

 $500 per day. Kepto’s communications with Ficken also emphasized that a repeat

 violator could face a fine up to $500 per day.

       When Ficken failed to correct the violation by the deadline, a hearing was

 scheduled, pursuant to Section 162.06, Florida Statutes, and Section 22-72, DCO, and

 notice of that hearing was provided to Ficken in accordance with Section 162.12,

 Florida Statutes, and Section 22-84, DCO. However, Ficken elected not to attend the

 hearing for this violation. The Board found Suncoast First Trust in violation.

 Significantly, the Board’s written order, which Ficken received, also articulated the

 consequences of the “repeat violator” classification, advising that the matter was

 deemed to be of a recurring nature and that, if it recurred, the Board could levy fines

 up to $500 per day. And, if Ficken took issue with the Board’s finding, he could appeal

 to a circuit court. He did not do so. Thus, going into 2018, Ficken received notice of

 the consequences of the repeat violator classification and an opportunity to contest

 such classification before it was applied.

       He also received notice and an opportunity in 2018. Although Ficken did not

 receive notification of the repeat violation observed on July 5, 2018, until over one

 month later, neither Section 162.06, Florida Statutes, nor Chapter 22-73, DCO,

 required Colbert to notify Ficken upon observation of a repeat violation. Indeed, for

 repeat violations, Colbert was required to notify Ficken, but was not required to give

 Ficken a reasonable time to correct the violation. Colbert was required, upon notifying

 Ficken, to notify the Board and request a hearing. Even when viewed in the light most
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 favorable to Plaintiffs, the evidence demonstrates that the 2018 Notice of Repeat

 Violation and the 2018 Hearing and Repeat Violation Notice, the latter of which set

 the hearing, were separately sent to Suncoast First Trust on August 22, 2018. While

 an inference could be drawn that the City scheduled a hearing before notifying Ficken

 of the violation, the due process claims are not premised upon any alleged failure of

 the City to notify Ficken of the repeat violation before scheduling a hearing, nor have

 Plaintiffs made this argument. McHale sent the 2018 Hearing and Repeat Violation

 Notice to Suncoast First Trust via certified mail, as required. 15 In addition to receiving

 notice, the September 4, 2018 hearing afforded Ficken a meaningful opportunity to

 challenge the observed repeat violation before the Board made a determination. Like

 the 2015 hearing, Ficken decided not to attend. 16


 15
   The 2018 Hearing and Repeat Violation Notice provided that the Board could levy fines of
 up to $500 per day “for every day that the violation continues beyond the date set in an order
 of the Board for compliance,” which appears to be language geared towards a violation, not
 a repeat violation. Doc. 42-4 at 137. Nonetheless, this recognition does not affect the analysis,
 as Section 162.06(2), Florida Statutes, and Section 22-73(a), DCO, required the 2018 Hearing
 and Repeat Violation Notice only to notify Ficken of the scheduled hearing for the repeat
 violation, which it did.
 16
   Ficken claimed during his deposition that he asked Kristen Mendez (“Mendez”) to attend
 the September 4, 2018 hearing on his behalf. (Doc. 42-1 at 126:18–25, 127:1–10). According
 to her affidavit, supplied by Defendants, Mendez, a licensed real estate agent, contacted
 Ficken to see if he desired to sell the Lady Marion Property after she drove by the Lady
 Marion Property in the summer of 2018 and noticed that the property appeared to be
 unoccupied. Doc. 42-8 at 2. Ficken and Mendez do not have either a personal or professional
 relationship. Id. at 3. When Ficken indicated that he did not want to sell the property, Mendez
 told him to notify her if he changed his mind. Id. Thereafter, Ficken contacted Mendez to ask
 her to attend the 2018 hearing. Id. at 2. Mendez’s only prior interaction with Ficken was when
 she contacted him to determine if he wanted to sell the Lady Marion Property. Id. According
 to Ficken, Mendez initially agreed to attend the hearing, but then informed him on September
 3, 2018, less than twenty-four hours prior to the hearing, that she would not be able to appear.
 Doc. 42-1 at 127:8–25, 128:1–8. However, Mendez claims that, upon Ficken’s request, she
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        Additionally, Plaintiffs’ assertion, upon which they base their due process

 claims, that the City’s imposition of fines against Ficken without providing him notice

 that the fines were being imposed on an ongoing basis is flawed. Neither the City nor

 the Board imposed fines against Ficken or Suncoast First Trust ahead of the hearing.

 Plaintiffs’ contention to the contrary in the Amended Complaint and on summary

 judgment is not supported by the law. Under both Chapter 162, Florida Statutes, and

 Chapter 22, DCO, the Board must first “find[] that a repeat violation has been

 committed” before ordering the repeat violator to pay a fine. Fla. Stat. § 162.09(1);

 City of Dunedin, Fla., Code of Ordinances § 22-79(a). Additionally, a “fine imposed

 pursuant to” this procedure cannot exceed $500 per day for a repeat violation. Fla.

 Stat. § 162.09(2)(a); City of Dunedin, Fla., Code of Ordinances § 22-79(d) (emphasis

 added). If a finding of repeat violation has been made as provided in this procedure,

 “a hearing shall not be necessary for issuance of the order imposing the fine.” Fla. Stat.

 § 162.09(1); City of Dunedin, Fla., Code of Ordinances § 22-79(c) (emphasis added).

 At the conclusion of a hearing, the Board must issue findings of fact and conclusions

 of law, and its order may include “that a fine may be imposed . . . .” Fla. Stat. §

 162.07(4); City of Dunedin, Fla., Code of Ordinances § 22-75(f).




 told him that she would need to check with her broker, who advised against attending the
 hearing because she did not represent Ficken or the Lady Marion Property and otherwise
 lacked a relationship with either. Doc. 42-8 at 2. Even if Ficken’s testimony is taken as true
 and all reasonable inferences are drawn in his favor, Plaintiffs do not explain why any failure
 of Mendez to attend the hearing on Ficken’s behalf demonstrates a deprivation of due process.


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       The evidence provided by Defendants, even when viewed in the light most

 favorable to Plaintiffs and drawing all reasonable inferences in Plaintiffs’ favor, also

 demonstrates that Plaintiffs’ contention regarding imposition of the fines is

 unsupported. The 2018 Notice of Repeat Violation advised Ficken that the fines “will

 be assessed” if he was “found to have committed a repeat violation.” Doc. 42-4 at 114

 (emphasis added). Similarly, the 2018 Hearing and Repeat Notice Violation advised

 Ficken to appear at the hearing if he “wish[ed] to present [his] side of the case.” Doc.

 42-4 at 137. The minutes from the September 4, 2018 hearing demonstrate that Kepto

 explained that the City sought a two-part order “finding” the Lady Marion Property

 in violation during two periods of time. Doc. 42-4 at 176. Colbert presented evidence

 of the overgrowth. Colbert recommend the maximum fine allowed under the law for

 a repeat violation. After the Board voted to impose the fines, the written orders of

 repeat violations issued, which, consistent with the law, imposed the fines.

       The Court applies the Mathews test to determine what process is constitutionally

 required. “Mathews applies only where an individual has a liberty or a property interest

 that the government seeks to eliminate, and the Mathews test concerns the

 administrative procedures required.” Grayson v. King, 460 F.3d 1328, 1340 (11th Cir.

 2006). Florida courts also employ this analysis in examining due process claims under

 the Florida Constitution. See Keys Citizens for Responsible Gov’t, 795 So. 2d at 948.

       During oral argument, Plaintiffs’ counsel claimed that Ficken “clearly . . . had

 a property interest at stake” because “[h]e was going to be fined $500 per day and, in

 fact, was being fined $500 per day without his knowledge.” Doc. 84 at 9:2–4. But,
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 assuming that Plaintiffs have a property interest, the risk of an erroneous deprivation

 of this interest through the procedures used is low. The evidence shows that notice and

 a hearing were provided. In 2015, the hearing, which provided Ficken with an

 opportunity to be heard at a meaningful time and in a meaningful manner, was

 scheduled only after the Lady Marion Property failed to achieve compliance by the

 compliance date. The resulting Board order in 2015 advised that the matter was of a

 “recurring nature” and that the Board could levy fines up to $500 per day, if it recurred.

 Doc. 42-4 at 118. Thus, Plaintiffs were on notice of the “repeat violator” classification.

 The afforded process complied with Chapter 162, Florida Statutes, and Chapter 22,

 DCO.

        Similarly, in 2018, the City notified Ficken of the repeat violation through the

 2018 Notice of Violation, and the 2018 Hearing and Repeat Violation Notice

 scheduled the hearing. Although this notice came several weeks after Colbert’s first

 observation of the violation on July 5, 2018, the Board’s 2015 order had placed

 Plaintiffs on notice of the recurring nature of the matter and the consequences. Further,

 neither the City nor the Board imposed fines against Ficken or Suncoast Trust on an

 ongoing basis or ahead of the hearing, as discussed in more detail herein. The 2018

 hearing, during which time the Board considered whether to impose any fines and the

 amount of those fines, afforded Ficken a meaningful opportunity to “present [his] side

 of the case,” present witnesses, and question the witnesses against him. Doc. 42-4 at

 137.



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       The probable value of additional or substitute safeguards is also minimal, given

 that notice and a hearing were provided in 2015 and 2018 and the fines were not

 imposed until the Board made a determination at the hearing. Defendants have an

 interest in protecting the health, safety, and welfare of City residents, and providing

 additional notice and a hearing would likely be burdensome on Defendants. For

 example, affording additional notice and another hearing after finding the violation in

 2015, but before finding the matter to be of a recurring nature, would likely result in

 aggrieved parties seeking to relitigate findings of violation.

       Plaintiffs contend that Defendants’ arguments fail because Ficken did not

 receive notice that he was being fined, which therefore violated his right to due process.

 In opposing Defendants’ Dispositive Motion for Summary Judgment, Plaintiffs repeat

 many of their arguments submitted in support of their summary judgment motion,

 which is discussed below. Plaintiffs claim that “[i]t is not disputed that the first time

 the City provided formal notice to [Ficken] that he had been fined was in a letter dated

 August 22, 2018—nearly seven weeks after the fines began.” Doc. 51 at 21 (emphasis

 added). Plaintiffs similarly argue that “the City’s daily fines—which were imposed and

 accrued without notice to [Ficken]—are thus ‘judgments without notice.’” But, as

 demonstrated above, the fines were not imposed until the Board decided to impose

 fines for the repeat violation at the hearing. Even if Chapter 22, DCO, may be

 construed as providing that a repeat violation fine may accrue, accrual is distinct from

 imposition. Plaintiffs have not provided any law persuasively demonstrating

 otherwise. Therefore, Plaintiffs’ arguments in opposition are unavailing.
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       The federal due process claim also fails because Plaintiffs have not proven a

 “constitutionally inadequate process.” Foxy Lady, Inc., 347 F.3d at 1236 (internal

 quotation marks omitted). As discussed above, the bases for Plaintiffs’ claim of

 constitutional inadequacy fail. Further, even if a deprivation of due process occurred,

 the federal procedural due process claim is not cognizable under Section 1983 because

 a means by which to remedy the alleged deprivation exists. Specifically, both Section

 162.11, Florida Statutes, and Section 22-83, DCO, provided Ficken with the

 opportunity to appeal the Board’s orders to the circuit court. Upon appeal, the circuit

 court’s review would have been “limited to appellate review of the record created

 before the code enforcement board.” Fla. Stat. § 162.11; City of Dunedin, Fla., Code

 of Ordinances § 22-83. Section 162.11, Florida Statutes, “provides for a plenary appeal

 to the circuit court as a matter of right from a final administrative order of an

 enforcement board.” C. Fla. Inv., Inc. v. Orange Cnty., 295 So. 3d 292, 293 (Fla. 5th

 DCA 2019). An appeal of the Board’s 2015 order would have allowed the circuit court

 to conduct appellate review of the violation that led to Suncoast First Trust being

 designated as a “repeat violator.” On appellate review, “all errors below may be

 corrected: jurisdictional, procedural, and substantive.” Id. at 295 (distinguishing

 review by appeal from review by certiorari). Further, an appeal of the Board’s 2018

 orders would have allowed the circuit court to conduct appellate review of the record

 created before the Board that resulted in the Board imposing fines for the repeat

 violation. Ficken did not appeal these orders, but only sought reconsideration of the



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 2018 orders. 17 This remedial procedure is adequate. See Lindbloom v. Manatee Cnty.,

 No. 8:18-cv-02642-T-02AEP, 2019 WL 2503145, at *4 (M.D. Fla. June 17, 2019)

 (stating that an adequate state remedial procedure need not provide all relief available

 under Section 1983, but must be able to correct any existing deficiencies and provide

 the plaintiff with whatever process is due), aff’d F. App’x 745 (11th Cir. 2020), cert.

 denied sub nom. Lindbloom v. Manatee Cnty., Fla., 141 S. Ct. 679 (2020). As such, the

 federal due process claim additionally fails because Plaintiffs have not proven a

 “constitutionally inadequate process” and, even if a deprivation of due process

 occurred, a means to remedy the alleged deprivation exists.

        Plaintiffs argue in response that exhaustion is not required for Section 1983

 cases. Doc. 51 at 24–25. As highlighted above, Defendants do not argue exhaustion of

 administrative remedies for the federal procedural due process claim, but instead that,

 even if a deprivation of due process occurred, the federal claim is not cognizable under

 Section 1983 because a means by which to remedy the alleged deprivation exists. The

 cases cited by Plaintiffs for the proposition that a claim is not barred on exhaustion

 grounds where the due process violation is not complete, and that the procedural due

 process errors preceded the Board’s review, are distinguishable, and the analysis above

 highlights that any due process violation upon which the federal claim is premised was



 17
    Plaintiffs seek to weaponize the Board’s decision to consider the requests for reconsideration
 by arguing that Ficken would have been able to appeal the orders within the 30-day deadline
 if the Board “had not delayed its action” on Ficken’s request. Doc. 51 at 26. But, the law does
 not require Ficken to seek reconsideration of the orders before appealing. This argument is
 unavailing.
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 not complete. See McKinney, 20 F.3d at 1562 (stating that procedural due process

 violations “do not become complete ‘unless and until the state refuses to provide due

 process’”). Plaintiffs also briefly question the utility of an appeal and claim that Ficken

 “had neither the opportunity to confront” Colbert “nor mount a basic defense,”

 leading Plaintiffs to characterize the record before the Board as “biased.” Doc. 51 at

 26–27. However, the Court declines to use Ficken’s decision not to attend the hearing

 to disregard the process afforded or the availability of the appeal. Plaintiffs’ remaining

 arguments in opposition are unpersuasive.

        Finally, Defendants argue that they are also entitled to summary judgment on

 the procedural due process claim under the Florida Constitution because Ficken failed

 to exhaust his administrative remedies. Doc. 42 at 24–25. Defendants rely on one case

 for this proposition: Conley v. City of Dunedin, No. 8:08-cv-1793-T-24AEP, 2010 WL

 146861 (M.D. Fla. Jan. 11, 2010). In Conley, the Conleys argued, among other things,

 that the City violated their procedural due process rights to notice and an opportunity

 to be heard under the Florida Constitution by refusing their request to continue two

 code enforcement hearings on citations. 2010 WL 146861, at *6. The Court

 acknowledged that, although Section 162.11, Florida Statutes, provided the Conleys

 with thirty days to appeal, they waited more than two years to initiate the

 constitutional challenge. Id. The Court explained that Florida law required the

 Conleys to “exhaust their administrative remedies” before they could “challenge the

 City’s actions as applied to them on state constitutional grounds.” Id. Although Conley

 is persuasive for other propositions, the claims or facts in the cases upon which Conley
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 relies for this conclusion are distinct from those in the present action. Further,

 “[f]ailure to file an appeal to the circuit court pursuant to section 162.11, Florida

 Statutes, is technically not an administrative remedy.” Wilson v. Cnty. of Orange, 881

 So. 2d 625, 631 (Fla. 4th DCA 2004). However, notwithstanding these recognitions,

 Defendants are entitled to summary judgment on the claim for due process under the

 Florida Constitution because, as articulated above, due process was provided.

       Thus, based on the foregoing analysis, Defendants have demonstrated that there

 is no genuine dispute of material fact as to the procedural due process claims and that

 they are entitled to judgment as a matter of law as to those claims. As such,

 Defendants’ Dispositive Motion for Summary Judgment will be granted as to the due

 process claims.

                   iii. Plaintiffs’ Dispositive Motion for Summary Judgment

       In moving for summary judgment on the due process claims, Plaintiffs submit

 two arguments: (1) that the City violated Ficken’s right to due process when it failed

 to inform him that he would be fined; and (2) that the City violated Ficken’s due

 process rights by classifying him as a repeat violator. Many of the points raised in the

 summary judgment motion overlap with the analysis above. For the reasons set forth

 below, Plaintiffs’ Dispositive Motion for Summary Judgment will be denied.

       Plaintiffs claim that the City’s failure to notify Ficken that the Lady Marion

 Property was the subject of “open code enforcement cases” violates due process. As

 Plaintiffs highlight, both Section 162.06(3), Florida Statutes, and Section 22-73(a),

 DCO, required Colbert to notify Ficken of the repeat violation. However, as Plaintiffs
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 concede, both the statute and the ordinance are silent on precisely when notice must

 be provided. Plaintiffs seize on this silence to argue that the “answer is not after tens

 of thousands in fines have accrued.” Doc. 43 at 29. In further support of the alleged

 lack of due process, Plaintiffs point out that Section 22-79(a), DCO, “adopts such a

 reading” by stating that the Board, upon finding that a repeat violation has been

 committed, may order the repeat violator to pay a fine for each day the repeat violation

 continues past the date of notice of the repeat violation. Id. On this basis, Plaintiffs

 contend that Ficken was entitled to “reasonable notice once he was on the hook for

 daily fines” and that the City never told him, “as it was required to do,” that a repeat

 violation had been discovered. Id. at 30.

       True, “Florida courts ‘fill the procedural gaps in [chapter 162] by the common-

 sense application of basic principles of due process.” Kupke, 293 F. App’x at 699

 (alteration in original) (quoting Massey, 842 So. 2d at 145). But, Plaintiffs’ argument

 ignores the notice that was provided. The Court declines to repeat its analysis above,

 which demonstrates that due process was afforded. And, given the provided notice

 and hearings, Plaintiffs’ reading of the statute is unpersuasive. In moving for summary

 judgment, Ficken submits a declaration, in which he admits that his “understanding

 was that, as a ‘repeat violator,’ the City could technically fine [him] up to $500 per day

 for another violation.” Doc. 43-2 ¶13. Despite this concession, Ficken claims, without

 any persuasive justification, that he nonetheless “never thought” that the City “would

 issue a fine like that for something as insignificant as tall grass and that he “was sure

 the City would at least tell [him] that [his] grass was too tall” before fining him as a
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 repeat violator. Id. However, the 2015 order from the Board was clear: the matter was

 deemed to be of a recurring nature and, if it recurred, the Board had the ability to levy

 fines up to $500 per day. Ficken’s expectation that the City “would at least” tell him

 about the grass being too tall seeks to shift property ownership responsibility onto the

 City. For the reasons set forth above, this view lacks support in the law and the

 provided evidence.

        Further, as previously discussed, neither the City nor the Board imposed fines

 resulting from the repeat violation on an ongoing basis or prior to the Board’s

 determination at the noticed 2018 hearing. Plaintiffs point to certain evidence to argue

 that fines begin accruing from when the repeat violation is first observed. Doc. 43 at

 29. For example, Kepto testified that fines start accruing for a repeat violation from

 when that repeat violation is first observed. Doc. 43-19 at 49:16–25, 50:1–2. Similarly,

 notes from a May 2019 meeting indicate that Trask represented that fines for repeat

 violations “begin to run on the day of the inspection of the property.” Doc. 42-25 at 6.

 Again, there is a distinction between accrual and imposition, and this general evidence

 of supposed practice, when viewed in the light most favorable to Defendants, does not

 evidence that the Board imposed fines resulting from the repeat violation on an

 ongoing basis or prior to its determination at the 2018 hearing.

       Next, in support of its argument that the City violated Ficken’s procedural due

 process rights when it classified him as a repeat violator, Plaintiffs contend that “it was

 not made known at the time of the 2015 hearing” that the 2015 violation would

 “strip[]” Ficken of “any entitlement to notice for future violations.” Doc. 43 at 30–31.
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 Of course, Plaintiff elected not to attend this hearing and, as discussed above, notice

 for the repeat violation was provided. Although Plaintiffs cite certain statements made

 by a Board member during the 2015 hearing that a fine for a repeat violation is not an

 “automatic $500”and Ficken would “know” if there was an “issue,” Plaintiffs do not

 demonstrate that this statement binds the Board to future action, creates or evidences

 the absence of a genuine dispute of material fact, or establishes a due process violation.

 Id. at 31.

        Therefore, based on the foregoing reasons, Plaintiffs have not demonstrated that

 there is no genuine dispute of material fact or that they are entitled to judgment as a

 matter of law as to the procedural due process claims. As such, Plaintiffs’ Dispositive

 Motion for Summary Judgment will be denied as to the procedural due process claims.

              C. Excessive Fines

        Plaintiffs bring claims under the Excessive Fines Clause of the Eighth

 Amendment to the United States Constitution and the Excessive Fines Clause of

 Section 17 of Article I of the Florida Constitution. Plaintiffs and Defendants move for

 summary judgment on these claims.

        Plaintiffs argue that daily files of $500 and a total fine of nearly $30,000 for tall

 grass is unconstitutional under the United States Constitution and the Florida

 Constitution. Doc. 43 at 22–29. In seeking summary judgment on the excessive fines

 claim under the United States Constitution, Plaintiffs emphasize the principle of

 proportionality to assert that the fines are grossly disproportional to the gravity of the

 offense. Id. at 22–26. According to Plaintiffs, Ficken does not fall into the class of
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 persons at whom the ordinance was principally directed, the existence of lesser

 penalties highlights the excessiveness of the imposed fines, and the tall grass at the

 Lady Marion Property did not cause any harm to neighbors or the government. Id. at

 23–26. They also urge the Court to consider additional factors, such as Ficken’s

 culpability and the City’s conduct. Id. at 25–26. In seeking summary judgment on the

 excessive fines claim under the Florida Constitution, Plaintiffs argue that the fines and

 foreclosure are “patently and unreasonably harsh or oppressive because they work a

 drastic sanction” by forcing Ficken to “lose his home or pay an exorbitant fine to save

 it.” Id. at 27. Plaintiffs also contend that the fines and foreclosure shock the conscience

 of reasonable men and exceed any reasonable requirements for redressing the wrong.

 Id. at 27–28.

       Defendants argue that the fines fall within the range of fines that may be

 imposed for original or repeat violations under Chapter 162, Florida Statutes, and

 Chapter 22, DCO. Doc. 42 at 18–21. Defendants claim that any reliance upon cases

 concerning forfeiture, restitution, and other criminal fines are distinguishable because

 those concepts do not present any utility in noncriminal code enforcement matters. Id.

 at 18–19. Defendants also claim that foreclosure does not fall within the ambit of the

 Eighth Amendment because it serves to remediate, not punish. Id. at 21–22. For the

 reasons set forth below, Defendants’ Dispositive Motion for Summary Judgment will

 be granted as to the excessive fines claims.

                  i. Relevant Law



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        The Eighth Amendment to the United States Constitution provides, “Excessive

 bail shall not be required, nor excessive fines imposed, nor cruel and unusual

 punishments inflicted.” U.S. Const. amend. VIII. The Excessive Fines Clause is

 incorporated by the Due Process Clause of the Fourteenth Amendment to the United

 States Constitution. Timbs v. Indiana, 139 S. Ct. 682, 687 (2019). “The Excessive Fines

 Clause limits the government’s power to extract payments, whether in cash or in kind,

 ‘as punishment for some offense.’” Austin v. United States, 509 U.S. 602, 610 (1993)

 (emphasis in original) (quoting Browning-Ferris Indus. of Vt., Inc. v. Kelco Disposal, Inc.,

 492 U.S. 257, 265 (1989)). Thus, the question is whether the fine or sanction is punitive

 and, therefore, constitutes a “fine” for Eighth Amendment purposes. United States v.

 817 N.E. 29th Drive, Wilton Manors, Fla., 175 F.3d 1304, 1309 (11th Cir. 1999). The fine

 or sanction must only serve “in part to punish.” Austin, 509 U.S. at 610; see Conley,

 2010 WL 146861, at *5 (“The Clause, however, only applies to assessments that can

 be considered ‘fines’ because the assessments are designed, in part, to punish.”)

        The “fine” under the Eighth Amendment also must be “excessive.” Wilton

 Manors, 175 F.3d at 1309. “A fine is excessive ‘if it is grossly disproportional to the

 gravity of a defendant’s offense.’” Wilton Manors, 175 F.3d at 1309 (quoting United

 States v. Bajakajian, 524 U.S. 321, 334 (1998)). Indeed, “[t]he touchstone of the

 constitutional inquiry under the Excessive Fines Clause is the principle of

 proportionality.” Bajakajian, 524 U.S. at 334.




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        The Excessive Fines Clause of the Eighth Amendment was “intended as a

 limitation on courts, not legislatures.” Wilton Manors, 175 F.3d at 1309 n.8; see

 Bajakajian, 524 U.S. at 336 (recognizing that “judgments about the appropriate

 punishment for an offense belong in the first instance to the legislature” as “particularly

 relevant” to the constitutional excessiveness inquiry). In the context of examining a

 challenge to a cumulative fine imposed under Chapter 162, Florida Statutes, under the

 Excessive Fines Clause of the United States Constitution and the Excessive Fines

 Clause of the Florida Constitution, the Eleventh Circuit has emphasized that there “is

 a strong presumption that the amount of a fine is not unconstitutionally excessive if it

 lies within the range of fines prescribed by the legislature.” Moustakis v. City of Ft.

 Lauderdale, 338 F. App’x 820, 821 (11th Cir. 2009) (internal quotation marks omitted)

 (quoting Bajakajian, 524 U.S. at 326). “[A]nalysis of Excessive Fines claims is a pure

 question of law.” United States v. One Parcel of Real Estate at 10380 SW 28th Street, Miami,

 Fla., 214 F.3d 1291, 1293 (11th Cir. 2000).

        Finally, the Florida Constitution provides that “[e]xcessive fines . . . are

 forbidden.” Fla. Const. art. I, § 17. “Well-settled Florida decisional authority provides

 that a statutorily authorized civil fine will not be deemed so excessive as to be cruel or

 unusual unless it is so great as to shock the conscience of reasonable men or is patently

 and unreasonably harsh or oppressive.” Locklear v. Fla. Fish & Wildlife Conservation

 Comm’n, 886 So. 2d 326, 329 (Fla. 5th DCA 2004) (citing Amos v. Gunn, 94 So. 615

 (1922)). “A fine within the permissible range otherwise authorized by the legislature is

 presumptively constitutional.” State v. Cotton, 198 So. 3d 737, 743 (Fla. 2d DCA 2016).
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                   ii. Analysis

        Based on the allegations in the Amended Complaint, the Court construes these

 excessive fines claims as raising both facial challenges and as-applied challenges. 18 “A

 facial challenge asserts that a law always operates unconstitutionally and an as-applied

 challenge asserts that a law is unconstitutional on the facts of the particular case or to

 a particular party.” Lindbloom, 808 F. App’x at 745 (citing Harris v. Mexican Specialty

 Foods, Inc., 564 F.3d 1301, 1308 (11th Cir. 2009)).

        The Court first must determine whether the $500 repeat violation fines, the total

 fine of more than $29,000, and the foreclosure constitute “fines” under the Eighth

 Amendment. As such, the Court must determine whether they serve, at least in part,

 to punish. The Eleventh Circuit, in an unpublished opinion, has treated fines imposed

 under Chapter 162, Florida Statutes, as “fines” under the Eighth Amendment. See

 Moustakis, 338 F. App’x at 821–22. As such, the Court will assume, without deciding,

 that the $500 repeat violation fines and the resulting total fine of more than $29,000

 constitute “fines” under the Eighth Amendment. 19 Defendants contend that the



 18
   Indeed, the claims allege that: (1) as applied, the City’s daily fines of $500 and total fines of
 over $29,000 are disproportionate to the “offense” of having tall grass; (2) as applied, the
 foreclosure of the Lady Marion Property is disproportionate to the offense of having tall grass;
 (3) on its face and as applied, the City’s “system of limitless fines for all non-irreparable code
 violations,” such as unlimited fines for tall grass, violates the Excessive Fines Clauses of the
 United States Constitution and the Florida Constitution; and (4) for the excessive fines claim
 under the Florida Constitution, the penalty of foreclosure for having tall grass, as applied,
 shocks the conscience. Doc. 77 ¶¶94–120.
 19
   Although Moustakis did not involve Chapter 22, DCO, the Court’s analysis above highlights
 the relationship between Chapter 162, Florida Statutes, and Chapter 22, DCO.


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 impending foreclosure is not subject to Eighth Amendment scrutiny because it is

 remedial. 20 Doc. 42 at 21. According to Defendants, the foreclosure “remediates the

 matter of an unsatisfied lien” by way of an in rem proceeding “and imposes no penalty

 distinct from that of the fine which created it.” Id. at 21–22. In other words, because the

 foreclosure does not impose a penalty separate from the fines, it serves to remediate,

 rather than to punish. This argument is unpersuasive. Thus, for purposes of the

 analysis below, the Court will assume, without deciding, that the foreclosure

 constitutes a “fine.”

        The next question is whether the $500 repeat violation fines, the total fine of

 more than $29,000, and the foreclosure are “excessive” under the Eighth Amendment.

 Binding cases on this issue arise in the contexts of forfeiture, restitution, criminal fines,

 or comparable areas. See, e.g., Austin, 509 U.S. at 604–605; Bajakajian, 524 U.S. at 324;

 Wilton Manors, 175 F.3d at 1306.

        However, the Eleventh Circuit’s analysis in Moustakis is persuasive and

 instructive for the present analysis. There, the City of Fort Lauderdale found the

 Moustakises’ home in violation of the City’s ordinances in 1993 and ordered the

 Moustakises to bring their home into compliance or pay a fine of $150 per day until

 the house was brought into compliance. 338 F. App’x at 821. As a result of the



 20
    Because the Board authorized Trask to pursue foreclosure of the Lady Marion Property to
 collect on the liens, the challenge to the foreclosure here is ripe. See Club Madonna, Inc. v. City
 of Miami Beach, 924 F.3d 1370, 1381 (11th Cir. 2019) (“Eighth Amendment challenges are
 generally not ripe until the imposition, or immediately impending imposition, of a challenged
 punishment or fine.”).
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 Moustakises’ failure to bring their home into compliance by 2002, the City of Fort

 Lauderdale filed a lien on the house. Id. Thereafter, the Moustakises sued the City of

 Fort Lauderdale in federal court, alleging that a lien of over $700,000 had been placed

 on the house. Id. The Moustakises sought to have the lien and the underlying fines

 reduced or abolished, arguing that they were excessive under the United States

 Constitution and the Florida Constitution. Id.

        The Eleventh Circuit upheld the dismissal of the complaint, observing that there

 “is a strong presumption that the amount of a fine is not unconstitutionally excessive

 if it lies within the range of fines prescribed by the legislature.” Id. (internal quotation

 marks omitted) (quoting Bajakajian, 524 U.S. at 336). Indeed, in Bajakajian, which

 involved a forfeiture, the Supreme Court emphasized that “judgments about the

 appropriate punishment for an offense belong in the first instance with the legislature.”

 524 U.S. at 336. And so, in reviewing the Moustakises’ challenge to the aggregate fine,

 the Moustakis court held that the $150 per day fine that had accrued for fourteen years

 into approximately $700,000 was due “substantial deference” because it was within

 the range of fines prescribed by the Florida Legislature in Section 162.09, Florida

 Statutes. 338 F. App’x at 821. Further, the $700,000 total fine “was created by the

 Moustakises’ failure to bring the house into compliance each day for 14 years.” Id. at

 822. The Eleventh Circuit explained that the $700,000 total fine was not grossly

 disproportionate, but, “literally, directly proportionate to the offense.” Id.

        Other courts have also rejected excessive fines challenges to fines within the

 range prescribed by Chapter 162, Florida Statutes. See, e.g., Conley, 2010 WL 146861,
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 at *5 (“Since the City’s fines of $50 and $100 a day fall within the range permitted by

 the Legislature under Florida Statute § 162.09(2), which permits daily fines of $250,

 the Court cannot find that the fines here are ‘grossly disproportional’ to the offense.”);

 Marfut v. City of N. Port, No. 8:08-cv-2006-T-27EAJ, 2009 WL 790111, at *7 (M.D.

 Fla. Mar. 25, 2009) (finding that the fines, which “were initially $50 per day or less”

 and accumulated to more than $47,000 “due to Plaintiff’s failure to remedy the

 violations at her properties,” were authorized by Florida and not grossly

 disproportional to remedy the violations); Lindbloom, 2019 WL 2503145, at *8 (“A fine

 of $50 per day to total less than $5,000—which is within the bounds set by the

 legislature—is not excessive.”).

        Therefore, there is a strong presumption that the amount of the fines here are

 not unconstitutionally excessive. The fine of $500 per day for a repeat violation and

 the total fine in excess of $29,000 fall within the range of legislatively authorized

 fines. 21 See Fla. Stat. § 162.09(2)(a); City of Dunedin, Fla., Code of Ordinances § 22-



 21
   The aggregate fine of over $29,000 also includes costs and interest. Doc. 42-4 at 229. In the
 February 13, 2019 letter, Trask advised that the accrued fine for the first lien totaled
 $24,454.36, which, aside from the principal amount, included $721.36 in interest, $200.00 in
 attorney’s fees, and $33.00 in recording costs. Id. The accrued fine for the second lien totaled
 $5,379.14, which, aside from the principal amount, included $136.14 in interest, $200.00 in
 attorney’s fees, and $43.00 in recording costs.“[T]he local governing body shall be entitled to
 collect all costs incurred in recording and satisfying a valid lien.” Fla. Stat. § 162.10. See City
 of Dunedin, Fla., Code of Ordinances § 22-82 (providing that the city commission may collect
 all costs that are incurred in recording and satisfying a valid lien). Further, under Chapter 162,
 an enforcement board may authorize a local governing body attorney “to foreclose on the lien
 or to sue to recover a money judgment for the amount of the lien plus accrued interest.” Fla.
 Stat. § 162.09(3).



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 79(d). Further, Plaintiffs argue that the foreclosure is excessive only in the context of

 their claim under the Excessive Fines Clause of the Florida Constitution. Doc. 43 at

 26–28.

       In the context of forfeitures, the Eleventh Circuit has set forth the following

 considerations for determining whether a fine is “grossly disproportional” to the

 gravity of the offense by examining: “(1) whether the defendant falls into the class of

 persons at whom the criminal statute was principally directed; (2) other penalties

 authorized by the legislature (or the Sentencing Commission); and (3) the harm caused

 by the defendant.” United States v. Sperrazza, 804 F.3d 1113, 1127 (11th Cir. 2015)

 (internal quotation marks omitted). Given the obvious distinctions between the facts

 of this case and a forfeiture, the Court is not persuaded that this test is applicable when

 examining fines imposed by a code enforcement board. Nonetheless, in an abundance

 of caution, the Court will apply the test. Application demonstrates that summary

 judgment is warranted for Defendants.

       First, both Chapter 162, Florida Statutes, and Chapter 22, DCO, establish two

 classes of persons: violators and repeat violators. The evidence demonstrates that Lady

 Marion Property was in repeat violation. Indeed, Ficken admitted the repeat violation

 in his communications with the Board in 2018. Plaintiffs argue that $500 fines are

 reserved for vacant properties and properties owned by absentee landlords. Doc. 43 at

 23. However, as Defendants point out, neither Chapter 162, Florida Statutes, nor

 Chapter 22, DCO, make this distinction. Doc. 49 at 7. Thus, Ficken falls within one



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 of the two classes of person at whom Chapter 162, Florida Statutes, and Chapter 22,

 DCO is principally directed.

       Second, for other authorized penalties, Plaintiffs argue that the City could have

 imposed a lesser fine. Doc. 43 at 23. In support, Plaintiffs claim that the Board did not

 consider fines at $25 per day or $50 per day, but instead set “the maximum amount

 allowed by law.” Id. at 23–24. According to Plaintiffs, “a verbal warning would have

 sufficed.” Id. at 24. However, as detailed above, there is a strong presumption that the

 amount of the fines here are not unconstitutionally excessive. The fine of $500 per day

 falls within the range authorized by Chapter 162, Florida Statutes, and Chapter 22,

 DCO. The resulting aggregate fine is due “substantial deference.” Moustakis, 338 F.

 App’x at 821. Neither Chapter 162, Florida Statutes, nor Chapter 22, DCO, require a

 prior fine before imposing the maximum fine allowed by law, gradually increasing

 fines, or a “verbal warning.”

       Third and finally, the intent behind Chapter 162, Florida Statutes, and Chapter

 22, DCO, is to “promote, protect, and improve the health, safety, and welfare” of

 citizens of the City through the imposition of fines and administrative penalties to

 enforce the City’s codes and ordinances. Fla. Stat. § 162.02; City of Dunedin, Fla.,

 Code of Ordinances § 22-1. Here, there is harm through the repeated violations of the

 overgrowth ordinance. Further, the Court agrees with Defendants that the regular

 maintenance of residential property furthers the public health, safety, and welfare.

 Indeed, Kepto and Colbert testified that properties with overgrown grass draw snakes,

 rats, and other vermin. Doc. 42-5 at 32:1–18, 38:13–17; Doc. 42-7 at 76:18–25, 77:1–
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 5. Trask similarly testified that, in addition to leading to rats, mice, and other vermin,

 overgrown grass may impact property values or produce the appearance of abandoned

 property. Doc. 42-11 at 52:13–25. Colbert’s notes from 2018 indicate that he received

 “several complaints of overgrowth” regarding the Lady Marion Property. Doc. 42-4

 at 129. Plaintiffs seek to undercut any harm by pointing out, among other things, that

 Colbert did not observe any vermin at the Lady Marion Property, that Trask could not

 identify a study performed by the City linking tall grass to property values, and

 Colbert’s personal opinion that tall grass did not constitute a “serious offense.” Doc.

 42-7 at 76:18–19, 104:8–11; Doc. 42-11 at 53:3–18. But, this analysis falls against a

 backdrop in which there is a strong presumption that the fines are not

 unconstitutionally excessive, and the evidence provided by Plaintiffs does not

 persuasively demonstrate that overgrowth at the Lady Marion Property presented

 “zero harm” to “neighbors or the government,” as Plaintiffs claim. Doc. 43 at 24

 (emphasis added). Therefore, the $500 fine and the total fine in excess of $29,000 are

 not grossly disproportional under the Eighth Amendment.

       This analysis is also applicable to Plaintiffs’ claim under the Excessive Fines

 Clause of the Florida Constitution. See Moustakis, 338 F. App’x at 821–22 (articulating

 the presumption afforded to fines falling within legislatively-set ranges and utilizing

 the “grossly disproportionate” standard in the context of claims under the Excessive

 Fines Clause of the United States Constitution and the Florida Constitution); Ripoelle

 v. Dep’t of Fin. Servs., Div. of Workers’ Comp., 907 So. 2d 1220, 1223 (Fla. 1st DCA 2005)

 (articulating the “grossly disproportionate” analysis in examining a challenge under
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 the Excessive Fines Clause of the Florida Constitution). As such, for the reasons set

 forth above, the $500 daily fine and the total fine in excess of $29,000 are not grossly

 disproportional under the Florida Constitution. Despite alleging that, as applied, the

 foreclosure of the Lady Marion Property is disproportionate to having tall grass,

 Plaintiffs, in seeking summary judgment, argue that the foreclosure is excessive only

 in the context of their claim under the Excessive Fines Clause of the Florida

 Constitution, such as by arguing that the foreclosure shocks the conscience and is

 patently and unreasonably harsh or oppressive. Doc. 26–28. Under Chapter 162,

 Florida Statutes, and Chapter 22, DCO, the Board may authorize the foreclosure of a

 lien if the lien remains unpaid after three months. Fla. Stat. § 162.09(3); City of

 Dunedin, Fla., Code of Ordinances § 22-81. That is what occurred here. Again,

 assuming the foreclosure is a punishment, “judgments about the appropriate

 punishment for an offense belong in the first instance to the legislature.” Bajakajian,

 524 U.S. at 336. Thus, deference is due to these legislative enactments. And, while this

 deference does not bar an as-applied challenge, the foreclosure is not grossly

 disproportional, nor does it shock the conscience or otherwise serve as patently and

 unreasonable harsh or oppressive.

       Finally, Plaintiffs’ facial challenge as to the City’s purported system of limitless

 fines for non-irreparable code violations fails. “A facial challenge to a legislative Act

 is, of course, the most difficult challenge to mount successfully, since the challenge

 must establish that no set of circumstances exists under which the Act would be valid.”

 United States v. Salerno, 481 U.S. 739, 745 (1987). See Cotton, 198 So. 3d at 742 (“A
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 facial challenge to a statute . . . must establish that no set of circumstances exists under

 which the statute would be valid.”). A party challenging the constitutional validity of

 a statute bears a “heavy burden” of demonstrating its invalidity. Cotton, 198 So. 3d at

 741 (internal quotation marks omitted). One Florida court has rejected an argument

 that Chapter 162, Florida Statutes, is unconstitutional by establishing a “rogue”

 judicial system. Michael D. Jones, P.A. v. Seminole Cnty., 670 So. 2d 95, 96 (Fla. 5th

 DCA 1996) (internal quotation marks omitted). Here, Plaintiffs have failed to

 demonstrate that there are no circumstances under which Chapter 162, Florida

 Statutes, or Chapter 22, DCO, would be valid. Plaintiffs instead focus on the

 application of Chapter 162, Florida Statutes, and Chapter 22, DCO, in this case. See

 Doc. 43 at 22–28. An as-applied challenge is distinct from a facial challenge.

        Therefore, based on the foregoing analysis, Defendants have demonstrated that

 there is no genuine dispute of material fact as to the excessive fines claims and that

 they are entitled to summary judgment as to those claims. As such, Defendants’

 motion for summary judgment will be granted as to the excessive fines claims.

    IV.    CONCLUSION

        Because there is no genuine dispute of material fact and Defendants are entitled

 to judgment as a matter of law on all claims, Defendants’ Dispositive Motion for

 Summary Judgment will be granted.

    Accordingly, it is hereby ORDERED AND ADJUDGED:




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    1. Defendants’ Dispositive Motion for Summary Judgment and Incorporated

       Memorandum of Law (Doc. 42) is GRANTED.

    2. Plaintiffs’ Dispositive Motion for Summary Judgment and Incorporated

       Memorandum of Law (Doc. 43) is DENIED.

    3. The Clerk is directed to enter JUDGMENT in favor of Defendants City of

       Dunedin, Florida and Dunedin Code Enforcement Board and against Plaintiffs

       James Ficken and Suncoast First Trust.

    4. The Clerk is further directed to terminate all pending motions and close this

       case.

       DONE AND ORDERED in Tampa, Florida on April 26, 2021.




 Copies to:
 Counsel of Record and Unrepresented Parties, if any




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